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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)

                                                              Hearing Date: June 28, 2023 at 1:00 p.m. (ET)
                                                              Objection Deadline: May 22, 2023 at 4:00 p.m. (ET)


     SECOND MOTION OF DEBTORS FOR ENTRY OF AN ORDER EXTENDING
     DEADLINE TO FILE A COMPLAINT TO DETERMINE DISCHARGEABILITY
            OF CERTAIN DEBTS PURSUANT TO 11 U.S.C. § 1141(d)(6)

                     FTX Trading Ltd. and its affiliated debtors and debtors-in-possession

(collectively, the “FTX Debtors”) and Emergent Fidelity Technologies Ltd, as debtor and debtor-

in-possession (the “Emergent Debtor” and together with the FTX Debtors, collectively, the

“Debtors”) hereby submit this motion (this “Motion”) for entry of an order, substantially in the

form attached hereto as Exhibit A (the “Order”), pursuant to sections 105(a) and 523(c) of title

11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), rule 4007 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and rule 9006-2 of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware (the “Local Rules”), extending the deadline for filing a complaint to

determine the dischargeability of a debt (the “Determination Deadline”), to the extent applicable

in these Chapter 11 Cases, from (i) May 22, 2023, with respect to the FTX Debtors, and (ii) May

9, 2023, with respect to the Emergent Debtor, (x) for an additional period through and including



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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies
    Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



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September 29, 2023 or (y) to the deadline pursuant to Local Rule 4007-1, whichever is later,

without prejudice to the ability of the Debtors or any other party in interest, including, without

limitation, the United States of America and any federal departments and agencies, to request

further extensions. In support of the Motion, the Debtors respectfully state as follows:

                                              Background

                     1.    On November 11 and November 14, 2022, the FTX Debtors filed with the

Court voluntary petitions for relief under the Bankruptcy Code, and on February 3, 2023, the

Emergent Debtor filed its voluntary petition for relief under the Bankruptcy Code with this

Court. The Debtors continue to operate their businesses and manage their properties as debtors-

in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. Joint

administration of the Debtors’ cases (the “Chapter 11 Cases”) was authorized by the Court by (i)

entry of an order on November 22, 2022 [D.I. 128] with respect to the FTX Debtors and (ii) by

entry of an interim order on April 10, 2023 [D.I. 1246] with respect to the Emergent Debtor. On

December 15, 2022, the Office of the United States Trustee for the District of Delaware (the

“U.S. Trustee”) appointed an Official Committee of Unsecured Creditors (the “Committee”)

pursuant to section 1102 of the Bankruptcy Code [D.I. 231].

                     2.    On December 20, 2022, the U.S. Trustee held a meeting of the FTX

Debtors’ creditors pursuant to section 341 of the Bankruptcy Code (the “FTX Debtors’ 341

Meeting”). The FTX Debtors’ 341 Meeting was continued to a date that is to be determined

[D.I. 301].

                     3.    On February 10, 2023, the U.S. Trustee scheduled a meeting of the

Emergent Debtor’s creditors pursuant to section 341 of the Bankruptcy Code to be held on

March 10, 2023 (the “Emergent Debtor’s 341 Meeting”) [Case No. 23-10149, D.I. 21]. The

Emergent Debtor’s 341 Meeting was held on March 10, 2023.

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                     4.    On March 3, 2023, the Court entered an Order Extending Deadline to File

a Complaint to Determine Dischargeability of Certain Debts Pursuant to 11 U.S.C. § 1141(d)(6)

[D.I. 799] (the “First Extension Order”), extending the Determination Deadline with respect to

the FTX Debtors from February 21, 2023, to May 22, 2023 or to the deadline pursuant to Local

Rule 4007-1, whichever is later, without prejudice to the FTX Debtors’ ability to seek further

extensions.

                     5.    Additional factual background relating to the FTX Debtors’ businesses

and the commencement of these Chapter 11 Cases is set forth in the Declaration of John J. Ray

III in Support of Chapter 11 Petitions and First Day Pleadings [D.I. 24], the Declaration of

Edgar W. Mosley II in Support of Chapter 11 Petitions and First Day Pleadings [D.I. 57], the

Supplemental Declaration of John J. Ray III in Support of First Day Pleadings [D.I. 92] and the

Supplemental Declaration of Edgar W. Mosley II in Support of First Day Pleadings [D.I. 93].

Additional factual background relating to the Emergent Debtor’s business and the

commencement of its chapter 11 case is set forth in the Declaration of Angela Barkhouse in

Support of the Debtor’s Chapter 11 Petition (the “Emergent Declaration”) [Case No. 23-10149,

D.I. 3].

                                              Jurisdiction

                     6.    The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012. This matter is a core proceeding

pursuant to 28 U.S.C. § 157(b). Venue is proper in the Court pursuant to 28 U.S.C. §§ 1408 and

1409. The statutory predicates for the relief requested herein are sections 105(a) and 523(c) of

the Bankruptcy Code, Bankruptcy Rule 4007 and Local Rule 9006-2. Pursuant to Local Rule

9013-1(f), the Debtors consent to the entry of a final order or judgment by the Court in

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connection with this Motion to the extent it is later determined that the Court, absent consent of

the parties, cannot enter final orders or judgments consistent with Article III of the United States

Constitution.

                                            Relief Requested

                     7.    By this Motion, the Debtors request entry of the Order, substantially in the

form attached hereto as Exhibit A, to the extent applicable in these Chapter 11 Cases, extending

the Determination Deadline from (i) May 22, 2023, with respect to the FTX Debtors, and

(ii) May 9, 2023, with respect to the Emergent Debtor, (x) for an additional period through and

including September 29, 2023 or (y) to the deadline pursuant to Local Rule 4007-1, whichever is

later, without prejudice to the ability of the Debtors or any other party in interest, including,

without limitation, the United States of America and any federal departments and agencies, to

request further extensions. 2

                                             Basis for Relief

                     8.    Section 1141(d)(6) of the Bankruptcy Code provides, in relevant part, that

“the confirmation of a plan does not discharge a debtor that is a corporation from any debt . . .

(A) of a kind specified in paragraph (2)(A) or (2)(B) of section 523(a) that is owed to a domestic

governmental unit . . . .” 11 U.S.C. § 1141(d)(6). Section 523(a)(2)(A), in turn, pertains to

certain debts to the extent obtained by “false pretenses, a false representation, or actual fraud.”

11 U.S.C. § 523(a)(2)(A). Section 523(a)(2)(B) pertains to, among other things, debts to the

extent obtained by “materially false” statements in writing respecting the debtor’s financial

condition. 11 U.S.C. § 523(a)(2)(B).

                     9.    Section 523(c) of the Bankruptcy Code provides, in relevant part :



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    Pursuant to Local Rule 9006-2, this deadline shall automatically be extended until the Court acts on
    the Motion, without the necessity for the entry of a bridge order.
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                     . . . the debtor shall be discharged from a debt of a kind specified in
                     paragraph (2), (4), or (6) of subsection (a) of this section, unless,
                     on the request of the creditor to whom such debt is owed, and after
                     notice and a hearing, the court determines such debt to be excepted
                     from discharge under paragraph (2),(4), or (6), as the case may be,
                     of subsection (a) of this section. 11 U.S.C. § 523(c).

                     10.    Pursuant to Bankruptcy Rule 4007(c), a complaint to determine

dischargeability under section 523(c) of the Bankruptcy Code must be filed no later than 60 days

after the first date set for the meeting of creditors under section 341(a), subject to extension for

cause. Local Rule 4007-1 provides that, with respect to the Rule 4007 Determination Deadline,

in the event the 341 Meeting is continued or rescheduled, the Determination Deadline “shall be

the later of the original deadline or twenty-eight (28) days after the section 341 meeting is

concluded.”

                     11.    The applicability of 60 day deadline set forth in Bankruptcy Rule 4007 to

governmental agencies in these Chapter 11 Cases is uncertain, and there is no controlling

caselaw in this Circuit. See In re Hawker Beechcraft, Inc., 515 B.R. at 425-26 (concluding that

section 1141(d)(6) is self-executing and that deadlines imposed under section 523(c) of the

Bankruptcy Code and Bankruptcy Rule 4007 are inapplicable to a creditor seeking a

dischargeability determination under section 1141(d)(6)). In light of the ambiguity regarding the

application of section 523 of the Bankruptcy Code and Bankruptcy Rule 4007, the Debtors seek

to extend the Determination Deadline, as applicable.

                     12.    The FTX Debtors’ 341 Meeting commenced and was held on December

20, 2022. However, the FTX Debtors’ 341 Meeting was continued by the U.S. Trustee to a date

that is to be determined [D.I. 301]. As a result, pursuant to Local Rule 4007-1, the

Determination Deadline with respect to the FTX Debtors, is automatically extended until 28 days

after the FTX Debtors’ 341 Meeting is concluded.


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                     13.   The Emergent Debtor’s 341 Meeting was held on March 10, 2023.

Accordingly, the Determination Deadline pursuant to Rule 4007 with respect to the Emergent

Debtor is May 9, 2022.

                     14.   Absent the continuation of the FTX Debtors’ 341 Meeting, the

Determination Deadline with respect to the FTX Debtors would have been February 21, 2023,

which deadline was extended to May 22, 2023 or to the deadline pursuant to Local Rule 4007-1,

whichever is later, pursuant to the First Extension Order. Various state and federal government

agencies (“Government Entities”) with whom the Debtors are cooperating have contacted the

Debtors to request more time to consider dischargeability matters given the issues presented by

these Chapter 11 Cases. It would be inefficient to address such requests on an individual entity

basis.

                     15.   At these early stages of these Chapter 11 Cases, the Debtors also wish to

avoid dedicating estate resources to addressing dischargeability complaints that may be filed out

of an abundance of caution prior to the Determination Deadline. The commencement of a

potential onslaught of dischargeability litigation would threaten to disrupt the Debtors’ progress

in moving these Chapter 11 Cases forward.

                     16.   The Debtors have determined that ensuring an extension through

September 29, 2023 will permit the Debtors to continue their investigation and all parties in

interest to consider the facts prior to the Government Entities reaching any conclusions with

respect to dischargeability. To the extent ultimately relevant, such issues should be addressed

closer to the chapter 11 plan process.

                     17.   The requested extension will enable the Debtors to avoid a potential flood

of adversary complaints while allowing them to further assess the timetable for addressing

dischargeability issues as the Chapter 11 Cases progress. An extension of the Determination

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Deadline is in the best interests of the Debtors and all parties-in-interest as it will facilitate the

advancement of the Chapter 11 Cases by avoiding unnecessary distraction and expense. The

requested extension will also not prejudice any Government Entities because these parties will

benefit from the additional time prior to needing to file a complaint with respect to the

dischargeability of a debt.

                     18.   Courts in this District routinely approve extensions of the deadline for

filing a complaint to determine the dischargeability of a debt. See, e.g., In re Gulf Coast Health

Care, LLC, No. 21-11336 (KBO) (Feb. 8, 2022), D.I. 780 (extending applicable deadline with

respect to governmental units by 90 days); In re Connections Community Support Programs,

Inc., No. 21-10723 (MFW) (July 22, 2021), D.I. 352 (approving a stipulation between the debtor

and the United States Department of Justice and State of Delaware extending the deadline to file

a complaint to determine dischargeability of a debt by 90 days); In re Mallinckrodt PLC, No. 20-

12522 (JTD), (Feb. 8, 2021), D.I. 1312 (extending the deadline for the filing of a complaint to

determine the dischargeability of a debt with respect to certain non-federal governmental units

by up to 90 days). The Debtors submit that ample cause exists for the Court to grant the relief

requested herein.

                                          Reservation of Rights

                     19.   Nothing in this Motion shall be deemed: (a) an admission as to the amount

of, basis for, or validity of any claim against the Debtors under the Bankruptcy Code or other

applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s right

to dispute any claim; (c) a promise or requirement to pay any particular claim; (d) an implication

or admission that any particular claim is of a type specified or defined in this Motion; (e) a

request or authorization to assume, adopt, or reject any agreement, contract, or lease pursuant to

section 365 of the Bankruptcy Code; (f) a waiver of any claims or causes of action which may

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exist against any entity under the Bankruptcy Code or any other applicable law; (g) a

determination regarding the non-dischargeability of any debt under section 1141(d) of the

Bankruptcy Code; (h) a determination that section 523(c) of the Bankruptcy Code or Bankruptcy

Rule 4007(c) apply; (i) a determination that any deadline exists to seek a determination of

dischargeability under section 1141(d)(6) of the Bankruptcy Code; or (j) to preclude the Debtors

or any other party in interest, including, without limitation, the United States of America and any

federal departments and agencies, from seeking a further extension of the Determination

Deadline.

                                                  Notice

                     20.    Notice of this Motion has been provided to: (a) the U.S. Trustee;

(b) counsel to the Committee; (c) the Securities and Exchange Commission; (d) the Internal

Revenue Service; (e) the United States Department of Justice; (f) the United States Attorney for

the District of Delaware and (g) to the extent not listed herein, those parties requesting notice

pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief

requested, no other or further notice need be provided.

                                                Conclusion

                     WHEREFORE, for the reasons set forth herein, the Debtors respectfully request

that the Court (a) enter the Order, substantially in the form attached hereto as Exhibit A, and

(b) grant such other and further relief as is just and proper.




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Dated: May 8, 2023                          LANDIS RATH & COBB LLP
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